841 F.2d 1122Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Windell FLOWERS, Plaintiff-Appellant,v.Harry L. ALLSBROOK, Defendant-Appellee.
    No. 87-6691.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 28, 1988.Decided:  Feb. 24, 1988.
    
      Windell Flowers, appellant pro se.
      Before DONALD RUSSELL, SPROUSE and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Flowers v. Allsbrook, CA-87-1038-CRT (E.D.N.C. Nov. 6, 1987).
    
    
      2
      AFFIRMED.
    
    